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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ALLSTATE INSURANCE COMPANY                     :    CASE NO.: 1:18-cv-00325
                                               :
                               Plaintiff,      :    Hon. Virginia M. Kendall
                                               :
v.                                             :    Hearing Date: February 7, 2018
                                               :    Hearing Time: 9:00 a.m.
TRAVELERS CAUSALTY AND SURETY                  :
COMPANY                                        :
                                               :
                               Defendant.      :

                                   NOTICE OF
                      MOTION TO DISMISS, TRANSFER, OR STAY

TO:     See Attached Service List

         PLEASE TAKE NOTICE that on Wednesday, February 7, 2018, at 9:00 a.m., or as
soon thereafter as I may be heard, I shall appear before the Honorable Judge Virginia M.
Kendall, or any judge sitting in her stead in Courtroom 2319 of the United States District Court
of the Northern District of Illinois, Eastern Division, 219 South Dearborn Street, Chicago,
Illinois, and shall present the following motion attached hereto: Motion to Dismiss, Transfer
Venue to the District of Connecticut, or Stay These Proceedings (Doc. #15).

                                                   DEFENDANT, TRAVELERS CASUALTY
                                                   AND SURETY COMPANY,

Joseph J. Wilson
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Maisel & Associates
161 N. Clark St. – Suite 800                         By /s/ Joseph K. Scully_________________
Chicago, IL 60601                                         One of Its Attorneys
(312) 458-6500
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     -and-

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(860) 275-0100
(860) 881-2516 (fax)
Its Attorneys                                        Dated: January 24, 2018
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                                    SERVICE LIST


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Attorney for Allstate Insurance Company

Via CM/ECF




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this date, pursuant to Rule 5 of the Federal Rules of
Civil Procedure and the Northern District of Illinois’ General Order on Electronic Case Filing,
sec. XI, I caused the foregoing document to be filed electronically with the Clerk of Court
through ECF, and that ECF will send an e-notice of the electronic filing to all parties.



                                             /s/ Joseph K. Scully_________________
                                               Joseph K. Scully




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